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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

JOHN ANTHONY CASTRO,                      §
                                          §
      Plaintiff,                          §
                                          §
v.                                        §     Civil Action No. 4:22-cv-00016-O-BP
                                          §
UNITED STATES OF AMERICA,                 §
                                          §
      Defendant.                          §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

      After reviewing all relevant matters of record in this case, including the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge and any

objections thereto, in accordance with 28 U.S.C. § 636(b)(1), the undersigned District

Judge believes that the Findings and Conclusions of the Magistrate Judge are correct, and

they are accepted as the Findings and Conclusions of the Court.

      Accordingly, it is ORDERED that the Motion to Dismiss (ECF No. 7) is DENIED.

      SO ORDERED on this 7th day of June, 2022.


                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
